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                                      BETSY COMBER
                               315 East es"^ Street, Apt. 40
                                    New York, N.Y. 10065
                                        917-596-1762
                                  Betsv.combier@.annail.com

                                                             May 2, 2018
   VIA FEDEX


   Hon. Chief Magistrate Judge Roanne Mann
   United States Federal Court
   Eastern District of New York
   225 Cadman Plaza East
   Brooklyn. N.Y. 11201                                               lOEllf
   United States Federal Court                                           MAy 03 2018
   Eastern District of New York
   Pro Se Desk
   225 Cadman Plaza East
                                                                PRO SE OFFICE
   Brooklyn, N.Y. 11201

   Lucio Celli
   2743 Seymour Avenue
   Bronx, N.Y. 10469


                                  RE: Combier v. Portelos, et. al.
                                   Docket No.: 1:17-CV-02239


            Submission of Recent Information About Defendants' Misconduct and
          Third Letter Motion to Seal or Redact Documents Submitted by Lucio Celli

   Dear Chief Magistrate Judge Mann,
   With all due respect I submit herein my request, made previously to a limited extent to
   the Hon. Judge Margo Brodie, to seal the papers on the docket of the case captioned
   above already submitted by Lucio Celli and any papers submitted by him in the future.
   Defendant Celli's claims are false, defamatory, perjurious and must not be permitted
   public exposure due to their permanent harm for me, the Plaintiff, and my husband.
   None of Defendant's documents have anything relevant or material to present to this
   Court other than show his malice and intent to destroy Plaintiff's life and career, as well
   as that of her husband. He is continuing his defamation in support of Defendant
   Portelos by pursuing his destruction in this Court, on the Docket sheet.
   I would like to refer once again to the Federal Rules of Civil Procedure Rule 5.2(e):
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